Case 8:25-cv-00951-PX   Document 211-8   Filed 07/02/25   Page 1 of 4




                  EXHIBIT C
          Case 8:25-cv-00951-PX Document 211-8        Filed 07/02/25   Page 2 of 4
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    Automated Case Information
    Name: ABREGO-GARCIA, KILMER ARMADO | A-Number:
                      201-577-119



       Next Hearing Information




             There are no future hearings for this case.



       Court Decision and Motion Information

                The immigration judge GRANTED an application.

                                    DECISION DATE
 Case 8:25-cv-00951-PX       Document 211-8      Filed 07/02/25   Page 3 of 4
                              October 10, 2019

                              COURT ADDRESS
                     31 HOPKINS PLAZA, ROOM 440
                         BALTIMORE, MD 21201




BIA Case Information

              No appeal was received for this case.




Court Contact Information

If you require further information regarding your case, or wish to file
    additional documents, please contact the immigration court.

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     Case 8:25-cv-00951-PX Document 211-8 Filed 07/02/25               Page 4 of 4
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